JESSIE WAYNE PILLETTE,

Plaintiff,

-Vs-

REMINGTON ARMS COMPANY,

Defendant.

Case 1:12-cv-14676-TLL-LJM ECF No. 1, PagelD.1 Filed 10/23/12 Page 1of9

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

Case 1.12-cv-14676

Judge: Ludington, Thomas L.

MJ: Michelson, Laurie J

Filed: 10-23-2012 At 12:47 PM

PRIS JESSIE PILLETTE V REMINGTON AR
MS COMPANY {LG}

JURY DEMAND

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CIVIL RIGHTS COMPLAINT
42 U.S.C. §1983

Jessie W. Pillette#427155
In Propria Persona
Carson City Corr.Fac.
10274 Boyer Rd.

Carson City, Mi 48811
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(Preliminary Statement)

This civil rights action filed by Jessie Wayne Pillette, a State prisoner
for damages, actual damages, punitive damages, and compensitory damage awards,
under 42 U.S.C. §1983, alleging the " denial of access to the courts " in
violation of the.First Amendment to the US Constitution, and the State Torts of
" Negligence " and "Gross Negligence."

(Jurisdiction)

1.The court has jurisdiction over plaintiff's claims of violation of his
federal constitutional rights under 42 U.S.C. §§ 1331(a) and 1343.

2?.The court has supplemental jurisidiction over plaintiff's State law tort
claims under 28 U.S.C. §1367.

(Parties)

3. Jessie Wayne Pillette#427155, is the plaintiff, resident of Lincoln
Park, Michigan. Currently a State Prisoner incarcerated at Carson City Corr.
.Fac. 10274 Boyer Road Carson City, Michigan 48811.

4.Remington Arms Company, 870 Remington Drive, Madison, NC 27025-0700, is
named as defendant, and is one of the nations lead firearms manufacture's.

(Facts)

5. On August 31, 2003 Plaintiff was arrested in Vanderbilt, Michigan and
charged with several criminal offenses. Case#03-002953-FC Otsego County 46th
Judicial Circuit Court.

6. During the course of those legal proceedings, it was determined that
plaintiff was charged with " assault with intent to murder " contrary to State
law, MCL 750.83, for the alleged Misfire with a 870 Remington 20 Gauge Shotgun.
This assumption was based on a black circle marking found on a peters brand
shell loaded in the chamber by officer Nickolas. F. Cavanaugh.

7. On January 22, 2004 plaintiff was convicted of the charged offense based
on his " attempt to fire the shotgun " per primer marking. Officer Cavanaugh had
testified that the mark was, in his opinion made by the firing pin in an attempt
to fire the gun, and this was due to the barrel not being properly seated, most
likely because the shotgun was store taken apart in a case.

8. On march 8, 2004 plaintiff was sentence to a prsion term of 12-48 years
for the charge of assault with intent to murder.

9, Plaintiff was later released from prsion, (2009) due to successful federal
habeas proceedings. Pillette V. Berghuis, 630 F.Supp.2d (E.D.Mich.2009); Pillette
V. Berghuis, 683.F.Supp.2d 518 (E.D.Mich.2009).

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10. Plaintiff was free from incarceration from September 17, 2009 until
January 11, 2011 due to the reversal of habeas relief from the Sixth Circuit
US Court of Appeals. Pillette V. Berghuis, 408 F.App'x 873 (6th Cir.2010)

(State law torts)

1l. The defendant's negligence has caused the false incarceration of the
plaintiff as the black circle marking found on the blastcap/primer of the shell
in his case was caused by the factory press that presses the blastcap into the
shell casing during the loading process, and sometimes leaves a black grease
looking circle.

12. During plaintiff's freedom, he contacted defendant several times to
recieve information about the above facts.Staff at the defendant's company had
concluded that the black circle marking was made from their machine, and that
this particular shotgun cannot be loaded without the barrel properly seated,
and the trigger pulled in this condition. This newly discovered information
would prove false testimony of a testifying officer, Nickolas F. Cavanaugh,
was introduced in order to secure the conviction of a innocent man. But the
defendant stated " we're sorry we don't keep any criteria about the mark because
we never thought anyone would be accused of a misfire, it's simply a mark, not
a dent." The faliure to provide this information constitute " gross Negligence '
as plainntiff was taken back to prison due to the lack of these proof's which
could have stopped such unlawful confinement lodged against him.

(Denial of access to the courts)

13. Plaintiff raised, the above information, as newly discovered evidence
on State post Appeal, and now has pending proceedings in the Michigan Supreme
Court. COA case#308680 SCt Case#145021, People V. Pillette.

14. On September 10, 2012 plaintiff contacted the defendant, via US postal
services, requesting cure for their negligence, and the info stated in complaint.
The complaint was titled as exhaustion of administartive remedies, and informed
the defendant that if no action was taken within 30 days of the dat of letter/
customer complaint, the instant action would be filed. The defendant did not
provide the requested information, which constitute'’s " denial of access to the
courts " in violation of the First Amendment to the US Constitution, as the
plaintiff is being denied an evidentiary hearing in the State courts to make a
record of such newly discovered evidence, in lacking the necessary proof's
attached to his pleadings. Such as operations of the saide shotgun, info on the
machine made marking on the blastcap, or affidavit from defendant.

15. The continued denial of information regarding the operations of the
weapons, and machine made tool markings on the defendant's primers/blastcaps
constitutes the repeated denial of access to the courts, negligence, gross
negligence, and they are liable for injury caused by their products to their
customers when such injury results from their waton care of whether a injury
results.
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(Exhaustion of Remedies)

16. On September 10, 2012 plaintiff attempted to find a remedy by filing
a customer comaplaint, captioned as exhaustion of administrative remedies and
detailing the actions he would take if no response was made within 30 days.
See attached (Appendix A)
(Relief)

WHEREFORE, Plaintiff requests that the court grant the following relief,
as deemed appropriate:

A. actual damage awards in the amount plaintiff is found to be entitled
in excess of $450,000.00

B. Punittive damage awards in the amount plaintiff is found to be entitled
in excess of $1,000,000.00

C. Compensatory damage awards in the amount plaintiff is found to be entitled
in excess of $100,060,000.00

D. Plaintiff demands a trial by way of Jury.

E. Grant any other relief as it may appear plaintiff is found to be entitled.

Respectfully Requested,

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Date Jessie Wayne Pillette

JESSIE WAYNE PILLETTE,

Plaintiff,

=-Vs-

REMINGTON ARMS COMPANY,

Defendant.

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

District Court

No.

Hon.

APPENDIX A

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Jessie Wayne Pillette#427155
Carson City Correctional Fac.
10274 Boyer Road

Carson City, Mi 48811

CUSTOMER COMPLAINT
EXHAUSTION OF ADMINISTRATIVE REMEDIES

Dear, Remington Arms

I am filing the enclosed complaint in an attempt to find a
remedy to your " gross negligence." In 2003 I was arrested ina
small town here in Michigan, and falsely accused of a misfire with
a 870 Express 20 Gauge Magnum. This road cop (not expert) gave
false testimony regarding the operations of this gun. He claimed
because the gun was stored in a case with the barrel off, I may
have put the barrel on wrong. Thus the firing pin may not have
been able to hit the firing pin with sufficient force. And this
may be the cause of the black circle marking on the peters brand
shotgun shell loaded in the chamber. The problem with this theory
is, you cannot load a bullet into the chamber unless the barrel
cap and reciever is properly sealed. If I'm correct, there is a
safety feature preventing this built into the pump release. The
action will not close without the barrel properly seated as he
claimed, and diffently, a bullet cannot be chambered in this
alleged status of said weapon. Also, this “ black circle " mark
on the primer/blastcap of the shell, was made from your machine
at the factory that presses the primer into the shell casing
during the loading process.

In 2009 i was released, Pillette V. Berghuis, 630 F.Supp.2d
791 (E.D.Mich 2009); 683 F.Supp.2d 518 (E.D.Mich 2009), but then
the federal court of appeals reversed. Piliette V. Berghuis, 408
Fed. App'x 873 (6th Cir. 2010). During this time I talked to your
staff on the phone, and was told, " sorry we don't have any criteria
for you on the marking because it is simply a mark, and not a dent
we never thought anyone would mistake it for a misfire." So I reached
out to you people when i was free, researching for a false imprisonment
law suit. But now they found a way to stop me. And here I am, your
customer serving 48 yrs in prison for your factory made mark on a
primer. And you have not done anything. I have a appeal pending in
the Michigan Supreme Court rasing this, but the courts are not
giving me the proper hearing for it, because you have not provided
criteria for me to show.
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So here I sit in Michigan's prison system serving half a
centry for a factory made tool mark, made by the dye on the press.
Either the police department was negligent not proving adequate
training to this officer, or your negligent for not providing law
enforement with the information about the mark. And either way
your denying me access to the courts by not providing me with
any criteria for this. So I propose a form of (ADR) Alternative
dispute resolution, if you will.

I believe you should provide me your customer, with a lawyer
Since you may be liable. At the very least mail me the criteria
about this marking on the shell, and operations/safety features
of this weapon, and affidavit from staff in support. After all,
your customer is serving 48 yrs in prison for your factory machine
or press leaving a black grease looking circle on a builets
primer/blast cap.

If i don't hear anything from this company, or counsel within
30 days of the date of this letter. I will consider this exhaustion
of administrative remedies, and file a civil rights complaint in
federal court naming Remington arms as defendant. Alleging the
state tort or " gross Negligence " and constitutional violation
of " denial of Access to the Court " in violation of the First
Amendment to the United States Constitution for the failure to
provide this criteria. I'd rather not go this route, I believe
the cop lied on purpose. But nevertheless, you are responsible
to some degree, and obligated to your customers in this kind of
Sinerio. I look forward to being contacted by your counsel in this
matter.

Respectfully Requested,
Y

cc: Jessie W. Pillette
Remington Arms Co.
870 Remington Drive

- » SE
Madison, NC 27025-0700 Date: zotember- /o, AUQ

Technical Center
315 W. Ring Road
Elizabethtown, KY 42701

Ammunition & Components Plant
2592 Arkansas Hwy 15 N
Lonoke, AR 72086
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MICHIGAN DEPARTMENT OF CORRECTIONS CAR-100
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Prisoners write clearly-illegible/incomplete forms will not be processed. Date:
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R.U.M, or Authorized Agent Date Warden or Authorized Agent Date

Ld

Code Actual Expense Batch Number

Distribution: White-Business Office; Canary-Vendor; Pink-Property; Galdenrod-Prisoner

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CIVIL COVER SHEET FOR PRISONER CASES

Case No. _12-14676 Judge: _Thomas L. Ludington Magistrate Judge: _Laurie J. Michelson
Name of 1* Listed Plaintiff/Petitioner: Name of 1" Listed Defendant/Respondent:

JESSIE REMINGTON ARMS COMPANY

Inmate Number: 427155 Additional Information:

Plaintiff/Petitioner’s Attorney and Address Information:

Correctional Facility:
Carson City Correctional Facility

10522 Boyer Road
Carson City, Ml 48811
MONTCALM COUNTY
BASIS OF JURISDICTION ORIGIN
C 2 U.S. Government Defendant E 1 Original Proceeding
& 3 Federal Question (° 5 Transferred from Another District Court
Other:
| NATURE OF SUIT
: [ 530 Habeas Corpus
I 540 Mandamus FEE STATUS
kz 550 Civil Rights E IFP in Forma Pauperis
555 Prison Conditions Cl PD Paid

PURSUANT TO LOCAL RULE 83.11

1. Is this a case that has been previously dismissed?

m Yes x No
> If yes, give the following information:
Court:
Case No:
Judge:

2. Other than stated above, are there any pending or previously discontinued or dismissed companion cases in this or any
other court, including state court? (Companion cases are matters in which it appears substantially similar evidence will
be offered or the same or related parties are present and the cases arise out of the same transaction or occurrence.)

[> Yes x No
> If yes, give the following information:
Court:
Case No:
Judge:

MIED (Rev. 07/06) Civil Cover Sheet for Prisoner Cases

